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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
UNITED STATES OF AMERICA                   )
                                           )
      v.                                   ) Case No. 1:21-cr-118 (RCL)
                                           )
LISA MARIE EISENHART                       )
__________________________________________)

                           DEFENDANT’S NOTICE OF APPEAL

       NOW COMES Defendant Lisa Marie Eisenhart, by and through undersigned appointed

counsel, and notices her appeal from this Court’s Memorandum Order issued March 11, 2021

(ECF No. 48), pursuant to 18 U.S.C. § 3145(c) and 28 U.S.C. § 1291.

Dated March 25, 2021                         Respectfully submitted,

                                             ___/s/_Gregory S. Smith______________
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                                 CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing is automatically being served upon all

counsel of record, via the Electronic Case Filing system.

       This 25th day of March, 2021.

                                             ___/s/_Gregory S. Smith______________
                                             Gregory S. Smith
